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                    EXHIBIT 1
                                                                                         Case No. 1:20-cv-03747-NRN Document 152-2 filed 09/03/21 USDC Colorado pg 2 of 2




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                                             Joshua Matz
                                              Partner

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                                               + VCARD




                                             Joshua Matz is a partner at Kaplan Hecker & Fink LLP. His practice includes complex
                                             comn1ercial disputes, constitutional !av,, civil rights, and Supreme Court and appellate                                     EDU CATION
                                             litigation. In 2020, Joshua was recognized by The National Law Journal as a "D.C.
                                             Rising Star" and by Benchmark Litigation as a "Future Star" and member of its "40 &                                          University of Pennsylvania, BA, 2008
                                                                                                                                                                          magna cum laude
                                             Under Hot List." In January 2021, Joshua \Vas comn1issioned by Governor Andy
                                             Beshear as a Kentucky Colonel-the Co1nmonwealth's highest honor- for successfully                                            MSt, Oxford University, 2009
                                                                                                                                                                          with distinction
                                             defending Governor Beshear's COVID-19 public health measures at the Supreme
                                             Court. In February 202 I , Joshua took a leave of absence from the firn1 to serve as                                         JD, Harvard University, 20 I 2
                                                                                                                                                                          magna cum laude
                                             Impeachment Counsel to the House Judiciary Committee for the second Senate trial of
                                             President Trump; he previously served among counsel to the House Judiciary
                                             Committee for the first impeachment and trial of President Trump.                                                            CLERKSHIPS

                                             Joshua litigates a wide array of corrunercial cases, ranging from contract, fraud, and                                       Hon. Anthony M. Kennedy, Supreme
                                             misappropriation disputes to consumer protection and sex discrimination matters. He                                          Coun of the United States
                                             advises companies on regulatory compliance, participates in sensitive internal                                               Hon. Stephen Reinhardt, U.S. Coun of
                                             investigations, and helps to formulate ad.Juinistrative and constitutional challenges to                                     Appeals for the Ninth Circuit
                                             city and state regulation. And along with several of his colleagues at Kaplan Hecker,                                        Hon. J. Paul Oetken, U.S. District Court
                                             Joshua represents Columbia University in class action tuition refund litigation arising                                      for the Southern District of New York
                                             fron1 its response to the pandemic.

                                             Joshua is also an experienced defan1ation litigator. He represents E. Jean Carroll in a                                      FELLOWSHIPS, LEADER SHIPS
                                             case against Donald J, Trump for defamatory statements Trump made in response to                                             & RE COGNITION
                                             Ms. Carroll's public revelation that he had sexually assaulted her. He represents Liz
                                                                                                                                                                          40 & Under Hot List, 2020 and
                                             Mair in a defan1ation case brought by Rep. Devin Nunes relating to her political                                             202 I, Benchmark litigation
                                             criticism. And he represents Stanford Medical School faculty who \Vere threatened with
                                                                                                                                                                          List of Most Influential People in
                                             a defamation suit for scientific criticisn1 of policies advocated by former White House                                      Washington, 2021, Washingtonian
                                             Coronavirus Advisor Dr. Scott Atlas.                                                                                         Magazine
                                                                                                                                                                          Kentucky Colonel, Commonwealth of
                                             Joshua maintains a substantial civil rights and constitutional practice. His cases have
                                                                                                                                                                          Kentuclq1
                                             ranged across LGBTQ rights, religious liberty, freedon1 of speech, privacy, firearm
                                                                                                                                                                          Future Star, Benchmark litigation
                                             regulation, the separation of po,Ners, the right to counsel, due process, and the scope of
                                             constitutional remedies. He has represented individual clients, civil rights organizations,                                  D.C. Rising Star, 2020, The Nations/
                                             current and forn1er government officials, cities, states, and congressional committees.                                      Law Journal

                                             Joshua's current and recent representations in this field include:                                                           "30 under 30" Law & Policy List, 2014,
                                                                                                                                                                          Forbes Ma,gszine
                                               • The Common\vealth of Pennsylvania in defending its certification of tl1e results of                                      Articles & Book Reviews Chair, Hari ard 1


                                                 the 2020 presidential election at the U.S. Supreme Court                                                                 Law Review
                                               • Governor Andy Beshear of Kentucky in defending the constitutionality of his
                                                 COVID- 19 public health orders at the U.S. Supreme Court
                                                                                                                                                                          BAR AND COURT ADMISSIONS
                                               • Victims of the Charlottesville attacks in a lawsuit against white supremacists
                                               • Victims of consumer fraud in a federal class action lawsuit against Donald J, Trump,                                     U.S. Supreme Court
                                                 his adult children, and the Trump Organization
                                                                                                                                                                          U.S. Courts of Appeals for the District of
                                               • I CE detainees in a challenge to their confine1nent a111id the COVID-19 pandemic                                         Columbia, Second, Third, Fourth, Fifth,
                                               • The Federal Defenders of New York in a statutory and constitutional challenge to                                         Seventh, Ninth, and Tenth Circuits
                                                 attorney access policies at tl1e Metropolitan Detention Center                                                           U.S. District Coun for the Southern
                                               • Maryland and tl1e District of Colun1bia- as well as private parties- in challenges to                                    District of New York and Eastern District
                                                 President Trump's violation of the Emoluments Clauses                                                                    of New York

                                               • Former Judge John Gleeson as court-appointed amicus in proceedings before Judge                                          U.S. District Court for the District of
                                                 Emmett Sullivan in United States v. J\.1ichael T. Flynn                                                                  Columbia

                                               • The House Judiciary Corrunittee in litigation seeking to compel testimony by former                                      U.S. District Coun for the District of
                                                 White House Counsel Don McGahn                                                                                           Colorado

                                               • The City of Philadelphia in Fulton v. Philadelphia- U.S. Supreme Court merits                                            U.S. District Court for the \Vestern
                                                 case involving a First Alnendment challenge to the City's contractual non-                                               District of Michigan
                                                 discrin1ination require111ents for foster care providers.                                                                U.S. District Court for the Eastern
                                                                                                                                                                          District of Wisconsin
                                             Joshua has also filed amicus briefs on behalf of legal scholars, civil rights organizations,
                                                                                                                                                                          New York
                                             public officials, and n1edical experts. These briefs have addressed issues including:
                                                                                                                                                                          District of Columbia
                                               • The legality of en1ergency public healtl1 measures issued amid the pandemic
                                               • Judicial po\\•er to release detainees facing a substantial risk of harm in custody
                                               • The application of Title VII to anti-LGBT discrimination
                                               • The addition of a citizenship question to the census
                                               • The denial of service to same-sex couples based on religious objections
                                               • The exclusion of transgender persons fro1n the military                                                            Areas of Specialty
                                               • The imposition of broad religious exemptions from the Affordable Care Act's
                                                 contraceptive coverage requirement
                                                                                                                                                                    Appellat e Litigat100
                                               • The need for due process limits on suggestive in-court eyewitness identifications
                                               • The availability of a damages remedy for cross-border shootings by federal agents                                  Commerc1at Litigation


                                               • The illegality of denying Medicaid coverage for gender-affirming surgeries.                                        Congressional Investigations
                                               • The la\vfulness of election ad.Jninistration grant programs.
                                                                                                                                                                    Employment, 01scnm1nauon, and Sexual Misconduct

                                             In 2017 and 2018, Joshua filed an amicus brief on behalf of constitutional la\v scholars                               lnvest,gations and Crisis Management
                                             opposing President Trump's travel ban. In its en bane opinion upholding an injunction
                                                                                                                                                                    Pubic Interest Litigation
                                             against that policy, the Fourth Circuit cited his brief. The Econon1ist called tl1is brief a
                                             "persuasive and skillfully targeted argument," and Slate described the opinion as "a
                                             striking vindication of the constitutional theory put forth in an runicus brief by a group
                                             of scholars led by ... Joshua Matz." When the travel ban cases reached the Supreme
                                             Court, Justice Sotomayor quoted from Joshua's brief in her dissent.

                                             Alongside his litigation experience, Joshua has written for diverse audiences about legal
                                             issues. His articles have appeared in The Washington Post, The Wall Street
                                             Journal, The Harvard Law Review Forllll1, The Daily Journal, The Guardian, The
                                             Atlantic, and Wired, and he has been invited to speak at Harvard Law School, the
                                             92nd Street Y, the ABA LGBT + Forun1, the National Constitution Center, and
                                             Politics & Prose. Joshua also serves as an Adjunct Professor at Georgeto\vn Law
                                             School, \Vhere he co-teaches "Constitutional Litigation and the Executive Branch."

                                             In lv1arch 2012, Joshua and Larry Tribe of Harvard La\v School published "The
                                             Constitutional Inevitability of Same-Sex Marriage," 71 Md. L. Rev. 471 (2012). In
                                             June 2014, tl1ey published an award-\vinning book, Uncertain Justice: The Roberts
                                             Court and the Constitution (Henry Holt) . In May 2018, they published their second
                                             book togetl1er, To End a Presidency: The Po1ver ofImpeachment (Basic Books). The
                                             Economist proclaimed this book "the definitive treatment of a vital subject."

                                             Joshua holds a BA (magna Clll11 Jaude) from the University of Pennsylvania, an MSt
                                             (with distinction) from Oxford University, and a JD (magna Clll11 Jaude) from Harvard
                                             La\v School. \'Q'hile in law school, he interned at the Public Citizen Litigation Group
                                             and the Federal Defenders of New York. He also served as Articles & Book Reviews
                                             Chair of the Harvard Law Review and president of the American Constitution Society.
                                             Following la\v school, Joshua clerked for Judge J. Paul Oetken of the Southern District
                                             of New York, Judge Stephen Reinhardt ofme Ninth Circuit Court of Appeals, and
                                             Justice Anthony M. Kennedy ofme United States Supreme Court. In
                                             2014, Forbes named Joshua to its "30 under 30" Law & Policy List- and in 2016 it
                                             named him an "Alunmi All-Star" of past honorees.




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                                         Joshua Matz and John Quinn                                      Kaplan Hecker & Fink LLP                                         Kaplan Hecker & Fink LLP
                                         Named to Benchmark                                              Represents New York State                                        Recognized in National Law
                                         Litigation's 202140 & Under                                     Senator Zellnor Myrie and                                        Journal's 2021 Elite Trial
                                         Hot List                                                        Assemblywoman Diana                                              Lawyers A\vards
                                         NEW YORK, NY, July 21, 2021 - Kaplan                            Richardson in Lawsuit Against                                    NEW YORK, NY, May 12, 2021 - Kaplan
                                         Hecker & Fink LLP is pleased to aJ111ounce                      the New York Police                                              Hecker and Fink LLP is delighted to
                                         that partners Joshua Matz and John Quinn                        Department                                                       announce that founding paru1er Roberta
                                         have been nan1ed to 6th edition                                                                                                  ("Robbie") Kaplan and partner Joshua lv1atz
                                                                                                         NE\V YORK, NY, June 28, 2021 - Kaplan
                                         of Benchmark Litigation's 2021 40 &                                                                                              have been recognized as winners by The...
                                                                                                         Hecker & Fink LLP today announced the
                                         Under... READ MORE                                                                                                               READ MORE
                                                                                                         filing of a complaint in tl1e United States
                                                                                                         District Court for the Eastern District of
                                                                                                         New York on behalf of Ne\v York. .. READ
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